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MINUTE ENTRY
FALLON, J.
JUNE 17, 2020

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


MILES MORAN, ET AL                                                            CIVIL ACTION

VERSUS                                                                        NO. 19-13553

KEVA LANDRUM-JOHNSON, ET AL                                                   CONSOL. W/

                                                                              20-1275

                                                                              SECTION "L" (5)


       A telephone early status conference was held on this date in the Chambers of the Honorable

Eldon E. Fallon. Eric Foley participated on behalf of Plaintiffs Miles Moran and Gerard Taylor.

Mindy Duffourc and Dennis Phayer participated on behalf of Defendants. The parties discussed

the effect of a recent legislative change on the status of the case. Plaintiffs represented that they

anticipated dismissing the claims affected by this change without prejudice. Defendants

represented that they would seek dismissal with prejudice. The parties were instructed to work

together to resolve the matter with respect to Count II.




  JS10(00:07)
